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                     4* L5D5E '?5>'5)*) N5E4 % 5<<53B!E5?> @B?E*DE B!88P !E *8!>*P $8

        5> E4* 2?>E J>D*'JB*) !B*! ?+ E4* /(585EP 6JDE ?JED5)* ?+ E4* D*'JB5EP 3!E* 1B

        E4* /'585EP

                       4*> *9%*P !98D D*'JB5I 3!E* ?@*>*) <?<*>E"B5:P E? !88?N !

        L*45'8* E? *>E*B 5>E? E4* D*'JB*) !B*! ?+ E4* /'585EP ' !>) EN? ?E4*B

        <*<&*BD ?+ ?>3B*DD '?8;*'E5L*8P E4* ?>3B*DD5?>!9 *8*3!E5?> <?L*)

        AJ5'78P 5>D5)* E? E4* D*'JB*) !B*! &*1B* E4* 3!E* '8?D*)

                     ,F*B E4* ?>3B*DD5?>!8 *8*3!E5?> *>E*B*) E4* D*'JB*) !C*! !>)

        @B?'**)*) E? !> 5>E*B5?B B*'*@E5?> !B*! E4* <!P?B ?+ *N!B7 >)5L5)J!8 !>)

        <*<&*BD ?+ 45D D*'JB5EP )*E!58 !BB5L*) 5> E4* J>D*'JB*) "C*! ?+ *8!>*P !98 !>)

        >)5L5)J!8 5>)5'!E*) E? ! 3J"B) *<@;?P*) !E E4* 3!E* ?+ /'585EP E4!E 4* N!D @!BE

        ?+ E4* ?>3B*DD5?>!8 *8*3!E5?>D *>E?JB!3* >)5M5)J!8 N!D )*>5*) *>EBP

                     4*B*!-G*B >)5L5)J!8 !>) 45D D*'JB5EP )*E!58 N*B* !88?N*) E? *>E*B

        5>E? E4* D*'JB*) !B*! N4*> E4* 3K!B) &*'!=* '?>'*B>*) 1B >)5L5)J!8D D!.*EQ

        !<5)DE E4* 'B?N) ?+ @B?E*DE*BD

                        458* &?E4 E4* ?>3B*DD5?>!8 *8*3!E5?> %) >)5M5)J!8 N*B*

        N5E45> E4* D*'JB*) "C*! ?+ *8!>*P !88  !@@B?!'4*) >)5L5)J!9 E?;) 45<

        E4!E 4* '?J8) >?E *>E*B N5E4?JE !JE4?B5R!E5?> !>) ?B)*B*) >)5L5)J!;  E? 8*!L*

        E4* /'585EPD D*'JB*) !B*!

                      D@*>E !@@B?O5<!E*8P 0L* <5>JE*D B*@*!E*)8P *O@8!5>5>3 E4!E

        *8!>*P !88 N!D @B5L!E* @B?@*BEQ !>) ?B)*B5>3 >)5L5)J!8  E? 8*!L* E4* +#'585HQD

        D*'JB*) !B*!        !8D? 5DDJ*) <J;E5@8* N!B>5>3D E4!E >)5L5)J!8 N?J;) &*

        !BB*DE*) 5+ 4* )5) >?E 8*!L* E4* D*'JB*) !B*!


                                                  
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                    &=3 IH<L3NN>IH)D 3D3<)O>IH IS3L=3)M2 O=?N 1IHS3LN)O?IH +H2

        1=*DD3H<32 ' KLIO3NO?H< !H2>S>2R*DN L3GIS*E     ' 3UKD*AH32 OI O=3G O=*O

        G3G03LN I4 IH<L3NN =)2 D)T;D )RO=IL>OV OI 03 ?H O=3 N31RL32 +M3* I4 3D*H3V

          *DD 0RO O=*O !H2?S>2R)D 2?2 HIO

                   4P3L HRG3LIRN T)LH>H<N OI D3*S3 *H2 HRG3LIRN T)MH>H<N I4

        KIO3HO?+D )LL3NO '  )HHIRH132 O=)O =3 T*N <I>H< OI KD*13 !H2>S?2R*F RH23L

        *LL3NO "1!'$ >HO3LB31O32 V3DD>H<  3DD HI   3DD HI

                  ' IL23L32 !H2?S?2R)D OI KD*13 =?N =+H2N 03=?H2 =?N 0*1C *H2

        2?NKD)V32 =?N =*H21R6N      "1!'$ +H2 IO=3L "3G03LN I4 O=3 IH<L3NN?IH*D

        3D3<)O>IH   NRLLIRH232 !H2>S?R2R)D /2 KL3S3HO32             %! I81?)DN :IG

        =)H21R8H< !H2>S>2R)D )H2 O*C?H< =>G >HOI 1RNOI2V             "1!'$ >H>O?*DDV

        L3G)>H32 ?HN?23 O=3 N31RL32 *L3* I4 3D)H3V      .D *N !H2?S?2R)D T)N 3N1ILO32

        0V =?N N31RL?OV 23O-D IRON?23 O=3 <)O3 >HOI O=3 RHN31RL32 )L3* I4 O=3 51?D>OW

                  (=>D3 !H2>S>2R)D T)N ?H O=3 RHN31RL32 *L3* IRON?23 O=3 <)O3     %!

        *<3HON )<*?H )QO3GKO32 OI =)H21R7 !H2?S?2R)E O O=)O O?G3 "!'$ =RLL?32

        IRON?23 OIT)L2N O=3 *<3HON )H2 )OO3GKO32 OI O=T+LO O=3 *LL3NO )N IO=3LN V3DD32

        1?L1D3 O=3 G)VIL      #H13 N=3 *LL>S32 H3*L !H2?S?2R*D "!'$ 4,132

        !H2?S?2R)E )H2 KD)132 =3L )LGN )LIRH2 =?G ?H )H 36ILO OI KL3S3HO       %! :IG

        1IGKD3O@H< O=3 +LL3NO

                   RL?H< =3L *OO3GKO OI O=T)LO O=3 )LL3NO I4 !H2?S?2R)D "1!'$

         ND)GG32 =3L 9L3)LG ?HOI O=3 0I2V I4 ' "1!'$ )DNI L3*1=32 IRO )H2 OL?32

         OI L3NOL)>H '  0V 4JL1?0DV <L)00?H< =?G




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                    - .0 .42 9          (- 11!8 .4-2: (- 2'! (120(2 ." !7

       !01!9 - !*1!7'!0! 2'! !"!- 2

                                                   

         (   $0(*9 115*2 0!1(12 .//.1! (,/! ! (-3(,( 2! -     (-2!0"!0! 7(2' 

       /!01.- !1(&-2! (- (2*!  -(2! 22!1 . ! !2).-               -,!*9  

        7'(*!  71 !-&&! (- - .- .5-2 ." 2'! /!0%0,-! ." '(1 .#(* 42(!1

        7'!0! 15' 21 ." 2'! !"!- -2 (-6.*6! /'91(* .-22 7(2'  

               - 6(.*2(.- ." (2*!  -(2! 22!1 . ! !2(.- ++++
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                                             
            $$&%! $$%!        "! ! !%##! '%  #   #

                  +@8 0CC8?.RAIGP P9R >LR@ AG K0M.?M.K@P  R@NIT?@  I; ITGS (G:

        I< R@AP #G7A6RF:GR /L: L: /CC:?:7 /G7 AG6ILKIL/R:7 /Q Q:R <JLR@ @:L:AG

                   R 1CC RAF8P L8C8U3R RI R@AQ $G7A6RF:GR -A6RAF  -  V/Q /G $

        :KILR/RAIG (=68L :G?/?87 AG R@8 K8L>LF/G68 I< @AP I=6A2 7TRA8Q

                   !ICCIVAG? R@: /OL:QR I< #G7AUA7T/C  &6#- ) KTQ@:7 K.PR -  V@AC8

        TQAG? 8/6@ I< @:L <JL81LFP RI >L6A5CX PRLAB8 -  /Q Q@: L:RTLG:7 AGQA7: I< R@:

        P:6TL:7 1L:/ I< :D/G:X "/CC

                   (G IL /5ITR &.X   AG PQ:W ITGRX AG R@: AQRLA6R I< ':V

        %:LP:X 47 :CQ8V@:L: R@: 7:<:G7/GR

                                                   

        7A7 >L6A5CX /PP/TCR L:QAQR IKKIQ: AFK:7: AGRAFA7/R: /G7 AGR8L<8L: VAR@ /

        K:LQIG 7:QA?G.R87 AG +ARC:  ,GAR87 *R.R:Q I7: *:6RAIG  G/F8CX - 

        V@AC8 -  V/P :G?/?:7 AG 1H7 IG .66ITGR I< R@: K:L<JLF/G68 I< @AP I=6A/C 7TRA8P

        V@:L: QT6@ /6RQ I< R@: 78<:G7/GR AGUICU:7 K@XPA60C 6IGR/6R VAR@ - 

              $G UAIC/RAIG I< +ARC:  ,GAR:7 *R.R8Q I7: *86RAIG EEE.E




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